                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNTIED STATES OF AMERICA,

       Plaintiff,
v.                                            CASE NO.: 6:20-CR-97-Orl-31LRH

JOEL MICAH GREENBERG,

      Defendant.
________________________________________/

                        UNOPPOSED MOTION TO FILE
            MOTION TO MODIFY CONDITIONS OF RELEASE UNDER SEAL

       The Defendant, JOEL GREENBERG, moves this Honorable Court to allow him to file his

Unopposed Motion to Modify Conditions of Release under Seal. In support thereof, Mr. Greenberg

states the following:

       1.      Mr. Greenberg’s next status hearing is set for on May 11, 2021. Doc. 78.

       2.      Mr. Greenberg intends to file a motion to modify conditions of release. This motion is

based on information of a sensitive and a confidential nature.

       3.      The government does not oppose the relief sought in this motion.

                                  MEMORANDUM OF LAW

       The public possesses a common-law right to inspect and copy judicial records and public

documents. In re Alexander Grant & Co. Litig., 820 F.2d 352, 355 (11th Cir.1987). However, the

public's right of access to judicial records may be overcome by a showing of good cause. Federal

Trade Comm'n v. Alcoholism Cure Corp., No. 3:10-cv-266-J-34TEM, 2010 WL 4840046 (M.D. Fla.

Nov. 23, 2010).

       Good cause requires balancing the right of access against the party's interest in keeping the

information confidential. Whether good cause exists is determined by the nature and character of the

                                             1
information. Courts consider whether allowing access would impair court functions or harm

legitimate privacy interests, the degree of likelihood of injury if the information is made public, the

reliability of the information, whether there will be an opportunity to respond to the information,

whether the information concerns public officials or public concerns, and the availability of a less

onerous alternative. Federal Trade Comm'n, supra, at *3, citing Romero v. Drummond Co., 480

F.3d 1234, 1246 (11th Cir.2007).

       As previously noted, Mr. Greenberg’s motion to modify conditions of release will be based

on sensitive and confidential information. Because the privacy interest in this information outweighs

the public’s interest, good cause exists for the sealing of Mr. Greenberg’s motion to modify

conditions of release.

       WHEREFORE, the Defendant, Joel Greenberg, moves this Honorable Court to allow him to

file his Motion to Modify Conditions of Release under Seal.

       Respectfully submitted this 26th day of February 2021.

                                                       /s/ Fritz Scheller
                                                       Fritz Scheller
                                                       Florida Bar No. 0183113




                                              2
                                 CERTIFICATE OF SERVICE

       On February 26, 2021, I electronically filed the foregoing with the clerk of the court by using

the CM/ECF system, which will send a notice of electronic filing to all parties of record.


                                                      /s/ Fritz Scheller
                                                      Fritz Scheller
                                                      Florida Bar No. 0183113
                                                      Fritz Scheller, P.L.
                                                      200 E. Robinson St., Ste. 1150
                                                      Orlando, Florida 32801
                                                      PH: (407) 792-1285
                                                      FAX: (407) 649-1657
                                                      Email: fscheller@flusalaw.com
                                                      Attorney for Joel Greenberg




                                             3
